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11
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12

13   UNITED STATES OF AMERICA,                         ) CR 18-00251-01 WHO
                                                       )
14           Plaintiff,                                )
                                                       ) GOVERNMENT’S SENTENCING
15      v.                                             ) MEMORANDUM
                                                       )
16   JESUS GUADALUPE SALAZAR,                          )
                                                       )
17           Defendant.                                )
                                                       )
18                                                     )

19 I.        INTRODUCTION

20           As the multiple federal wiretaps and periods of surveillance make clear: Defendant is

21 responsible for bringing staggering amounts of methamphetamine and heroin from Mexico into the

22 Northern District of California and beyond. He brought some of those drugs into the country after he

23 was arrested in this case and released on pretrial supervision. The government recommends that

24 defendant be sentenced to 240 months in custody, a significant sentence, and one that will protect

25 victims in this district for a significant period of time from someone who peddled the poison that

26 devastates the lives of so many in this District.

27

28

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 1 II.      THE DEFENDANT’S OFFENSE CONDUCT

 2          As the Presentence Report explains, defendant was the target of two wiretap periods and

 3 extensive investigation that made clear that he was a significant contributor to the methamphetamine and

 4 heroin epidemics that plague the West Coast. Defendant dealt heroin and methamphetamine locally to

 5 redistributors, one of whom would meet him at his home and then sell drugs to a Confidential Informant

 6 (CI) working with law enforcement. See Presentence Investigation Report (“PSR”) at ¶¶ 8-18.

 7 Defendant communicated with individuals who lived in Mexico, ordering drugs from senior drug

 8 traffickers in Mexico, who would dispatch others across the border to meet Defendant in Southern

 9 California. PSR ¶¶ 16, 17. In these calls, he talked about kilogram and pound-quantities of cocaine,
10 heroin, and methamphetamine. PSR ¶¶ 16, 18, 27. Defendant personally obtained these drugs in

11 Southern and Central California, driving them back into this District, and occasionally directing them to

12 the Seattle, Washington area. Id. As the PSR makes clear, Defendant is responsible for transporting and

13 distributing a staggering quantity of drugs, many of which were seized during two separate seizures

14 directly from the Defendant. The first took place on May 29, 2018. Id. at ¶ 21. On days leading up to

15 this traffic stop, agents had listened to calls and watched defendant go to the Los Angeles area to obtain

16 drugs from multiple individuals. During this time period, Defendant contacted his brother, co-defendant

17 Eduardo Salazar, to ask him to help Defendant to obtain methamphetamine. Id. at ¶ 20. As defendant

18 drove back to his home, California Highway Patrol stopped him, finding approximately 9 kilograms of

19 methamphetamine and 2 kilograms of heroin in his car. Id. That same day, agents executed a search

20 warrant at defendant’s home, finding more methamphetamine and heroin, two loaded 9 millimeter

21 firearms, a .22 caliber rifle, extra ammunition and magazines, and a stream light or laser to be placed on

22 a firearm. Id. at ¶ 22-23.

23          Defendant was released on an unsecured, $100,000 bond. Id. at ¶ 4. While on release, and

24 unbeknown to law enforcement, defendant obtained a new cellphone (not the one that was being

25 consensually monitored by law enforcement) and began speaking with an individual in the Seattle-area

26 about arranging a large methamphetamine transaction. Id. at ¶ 25. Unbeknown to Defendant, that

27 individual was another CI acting on behalf of law enforcement in Seattle. Id. In these calls, Defendant

28 promised to bring 50 pounds of methamphetamine to the CI if their first meeting went well. Id. at ¶ 26.

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 1 But, during that meeting on October 10, 2018, Defendant was arrested again with nearly 8 kilograms of

 2 methamphetamine. Id. This conduct took place while Defendant was on pretrial release.

 3
     III.   THE COURT SHOULD OVERRULE DEFENDANT’S OBJECTION TO THE FINAL
 4          PRESENTENCE INVESTIGATION REPORT

 5          The government concurs with the Probation Officer’s assessment that the two-level firearm
 6 enhancement under U.S.S.G. § 2D1.1(b)(1) applies to Defendant’s conduct. Guidelines subsection

 7 2D1.1(b)(1) states that a two-level enhancement applies “if a dangerous weapon (including a firearm)

 8 was possessed.” Application Note 11(A) to U.S.S.G. § 2D1.1 states that the “enhancement for weapon

 9 possession . . . reflects the increased danger of violence when drug traffickers possess weapons. The
10 enhancement should be applied if the weapon was present, unless it is clearly improbable that the

11 weapon was connected with the offense.” The Guideline then provides as an example of a “clearly

12 improbable connection” a case of a defendant arrested with drugs who also had an unloaded hunting

13 rifle in the closet. Id.; see also United States v. Restrepo, 884 F.2d 1294, 1296 (9th Cir. 1989) (holding

14 that, “in applying § 2D1.1(b)(1), the court need not find a connection between the firearm and the

15 offense. If it finds that the defendant possessed the weapon during the commission of the offense, the

16 enhancement is appropriate.” (emphasis in original)). Possession can be actual, or constructive. See

17 Ninth Cir. Model Crim. Jury Instr. 3.15

18          Here, based on the number and type of firearms and ammunition that were in Defendant’s home
19 and carport (two of which were loaded) and the fact that the home and carport were where many of the

20 drug deals took place, the government believes that this two-level enhancement applies. As the PSR

21 states, “there were several pole-mounted cameras that monitored the carport of Mr. Salazar’s apartment

22 complex where he conducted several drug deals.” PSR ¶ 3. In addition, the PSR described how another

23 individual who sold methamphetamine to a confidential information (CI) first went to defendant’s home

24 to obtain the methamphetamine, and then drove to meet the CI to conduct the sale. Id. ¶ 8. The PSR

25 further describes the search warrant executed at defendant’s home on May 29, 2018, during which

26 agents found:

27

28                  2,752.425 grams of methamphetamine and 607 grams of heroin
                    throughout Mr. Salazar’s bedroom, carport and vehicle; . . . three firearms:
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 1                  one Beretta 9mm handgun bearing serial number A1110932 with a loaded
                    magazine; a Marlin .22 caliber rifle with serial number V14018; and one
 2                  Beretta 9mm handgun bearing serial number A032600Z; . . . [and] 11
                    handgun magazines; two boxes of .22 caliber ammunition; stream light
 3                  light/laser; bag of .38 caliber ammunition; box of .38 caliber ammunition;
                    black bin containing ammunition; black and silver case containing
 4                  multiple rounds of ammunition.

 5 PSR ¶¶ 16-17. In addition, the PSR notes that “the Beretta 9mm handgun was located inside a backpack

 6 in Mr. Salazar’s bedroom.” Id. at ¶ 16.

 7          The Ninth Circuit consistently has upheld application of the two-level firearm enhancement in

 8 facts similar to those here where the drug dealing conduct and drug seizures were in close proximity to

 9 the seized firearms. For example, in Restrepo, an informant purchased drugs from Restrepo at
10 Restrepo’s home. 884 F.2d at 1295. Law enforcement later searched Restrepo’s home, finding

11 additional drugs and a loaded pistol hidden between the mattress and box spring of his bed. Id. On

12 appeal, Restrepo argued against the trial court’s application of the two-level firearms enhancement, and

13 the Ninth Circuit upheld this enhancement, concluding that the trial court judge, “reasonably inferred

14 from the evidence that Restrepo possessed the weapon during the commission of the offense. Several of

15 the offenses charged took place at his residence. Agents found the [firearm] hidden between the

16 mattress and the box spring of his bed, in the same room as equipment used for drug distribution. They

17 also found drugs in several places in his home.” Id. The Ninth Circuit cited approvingly United States

18 v. Gillock, 886 F.2d 220, 222 (9th Cir. 1989), in which the Court upheld the firearm enhancement where

19 weapons were in a closet with five ounces of methamphetamine, money, and filter papers. Similarly, in

20 United States v. Boykin, 785 F.3d 1352, 1364 (9th Cir. 2015), the Ninth Circuit found that the

21 government met its burden of proving constructive possession by a preponderance of the evidence

22 because agents recovered several firearms from a home where Boykin engaged in numerous drug

23 transactions. Id.

24          Here, given that Defendant was arrested with a significant quantity of methamphetamine and

25 heroin; agents found methamphetamine and heroin at his home (in his apartment and in his carport); and

26 agents found the firearms in his bedroom and carport, there is a basis to conclude that Defendant

27 possessed the firearms in connection with the offense, that he knew of their presence and had the ability

28 to control them, and it is not clearly improbable that they are unrelated to his drug trafficking.

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 1 IV.      A 240-MONTH SENTENCE IS APPROPRIATE PURSUANT TO 18 U.S.C. § 3553(A)

 2          The Court should impose a sentence sufficient, but not greater than necessary, to reflect the

 3 purposes of sentencing that Congress identified in 18 U.S.C. § 3553(a)(2). United States v. Carty, 520

 4 F.3d 984, 991 (9th Cir. 2008). As the Ninth Circuit has held, Courts should begin the process of

 5 determining an appropriate sentence by calculating the correct sentencing range under the Guidelines.

 6 Id. The Sentencing Guidelines are “the ‘starting point and the initial benchmark,’” United States v.

 7 Kimbrough, 552 U.S. 85, 108 (2007) (quoting United States v. Gall, 552 U.S. 38, 49 (2007)), and are to

 8 be kept in mind “throughout the sentencing process.” Gall, 552 U.S. at 50, n. 6. As noted by the Ninth

 9 Circuit, the Supreme Court has “clarified that we may attach a presumption of reasonableness to
10 sentences falling within the Guidelines range.” United States v. Saeturn, 504 F.3d 1175, 1178 (9th Cir.

11 2007) (emphasis added). After determining the appropriate Guidelines calculations, the Court should

12 then evaluate the sentence for substantive reasonableness in light of the factors set out in Section

13 3553(a). Carty, 520 F.3d at 991-93.

14          Under 18 U.S.C. § 3553(a), in arriving at the appropriate sentence for defendant, the Court

15 should consider these factors, among others:

16          (1)     the nature and circumstances of the offense and the history and characteristics of the

17 defendant;

18          (2)     the need for the sentence imposed to reflect the seriousness of the offense, to promote

19 respect for the law, and to provide just punishment for the offense;

20          (3)     the need for the sentence imposed to afford adequate deterrence to criminal conduct;

21          (4)     the need for the sentence imposed to protect the public from further crimes of the

22 defendant;

23          (5)     the need for the sentence imposed to provide the defendant with needed educational or

24 vocational training, medical care, or other correctional treatment in the most effective manner; and

25          (6)     the need to avoid unwarranted sentence disparities among defendants with similar records

26 who have been found guilty of similar conduct.

27          In analyzing the factors set forth above, the Government believes that a 240-month sentence is

28 sufficient but not greater than necessary to achieve the goals of sentencing.

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 1          A.      The Defendant Committed Repeatedly Committed Serious Offenses That Have
                    Harmed Many in the District
 2

 3           Defendant pled open, acknowledging his role in a conspiracy to distribute drugs and

 4 acknowledging his possession of controlled substances at the time of his arrests. The particular drugs

 5 that Defendant dealt are addictive and lethal.

 6          The quantity of drugs attributable to Defendant – 116,541.80 kilograms of drug equivalent – far

 7 exceeds the highest base offense level (38) available for this offense. It is important for the Court to

 8 consider that the PSR calculation is based only on drugs actually seized or purchased from the

 9 Defendant during a narrow window of time. It does not take into consideration all of the wiretap calls in
10 which Defendant agreed to deal drugs, or the times when agents surveilled Defendant making apparent

11 drug deals. It does not take into consideration the drug dealing that Defendant engaged in before the

12 time period of this conspiracy. This quantity is frightening in the context of the health crisis facing this

13 District.

14          Defendant is one of the people who has fueled the national opiate crisis and the local

15 methamphetamine crisis. On the west coast, and in the Bay Area, methamphetamine abuse is a

16 significant problem. On June 17, 2019, National Public Radio aired a piece entitled, “Meth in the

17 Morning, Heroin at Night: Inside the Seesaw Struggle of Dual Addiction.,” available at

18 https://www.npr.org/sections/health-shots/2019/06/17/730803759/meth-in-the-morning-heroin-at-night-

19 inside-the-seesaw-struggle-of-dual-addiction. The piece reports that, in San Francisco, “the number of

20 heroin addicts reporting methamphetamine as a secondary substance problem has been rising. In 2014,

21 14% of heroin users entering rehab in San Francisco said meth was also a problem. Three years later,

22 22% said meth was also a problem.” On May 1, 2019, National Public Radio aired a piece describing

23 the significant health impact, and public risks, from methamphetamine use, including

24 “methamphetamine-induced psychosis.” See “As Meth Use Surges, First Responders Struggle to Help

25 Those in Crisis,” available at https://www.npr.org/sections/health-shots/2019/05/01/716404677/as-

26 meth-use-surges-first-responders-struggle-to-help-those-in-crisis. The airing highlighted the challenges

27 that emergency medical workers face in handling the uptick of methamphetamine addicts coming to area

28 hospitals and the personal stories of those who struggle to overcome this addiction. On February 8,

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 1 2019, the San Francisco Chronicle published an article entitled, “Meth deaths and ER visits climb

 2 sharply in SF, as leaders look for solutions, written by Erin Allday. See

 3 https://www.sfchronicle.com/health/article/Meth-deaths-and-ER-visits-climb-sharply-in-SF-as-

 4 13599681.php. The articles described how methamphetamine overdoses “doubled over the past decade”

 5 and states that approximately “100 people died from methamphetamine overdoses in 2017, compared

 6 with about 150 from all types of opioids[.]” Id. “Long-term [methamphetamine] use can cause brain

 7 damage. People who overdose can become combative and unpredictable, and they may feel urges to

 8 harm themselves or others. Overdose deaths happen when methamphetamine causes sudden heart

 9 failure or bleeding of the brain’s main blood vessels.” Id.; see also “Meth’s Comeback: A New Speed
10 Epidemic Takes Its Toll on San Francisco,” available at https://www.kqed.org/news/11724407/meths-

11 comeback-a-new-speed-epidemic-takes-its-toll-on-san-francisco (“Since 2011, emergency room visits

12 related to meth have jumped 600 percent to 1,965 visits. Admissions to the hospital are up 400 percent

13 to 193. At Zuckerberg San Francisco General Hospital, of 7,000 annual psychiatric emergency visits, 47

14 percent are people who are not necessarily mentally ill — they’re high on meth.”).

15          While there are no identifiable victims of the Defendant’s drug dealing, drug distribution leads to

16 drug abuse. There are countless victims—not only addicts themselves, but their families and loved

17 ones—who suffer as a result. The government does not expect that any victims will appear in Court for

18 sentencing, but the government urges the Court to consider these faceless many in evaluating the

19 appropriate sentence.

20          In evaluating the circumstances of the Defendant’s arrest, they Court also should consider that

21 Defendant attempted to distribute a huge quantity of methamphetamine after his arrest in the instant

22 case. Defendant was arrest in May 2018, released on bond, and then was arrested with another carload

23 of methamphetamine in October 2018. Defendant pled to the charged offense, admitting to this

24 additional conduct. In considering the appropriate sentence, the Court should consider that, had the

25 government superseded the Indictment to extend the time period of the conspiracy to include October

26 2018, Defendant would have received a three-level Guidelines enhancement under U.S.S.G. § 3C1.3 for

27 an offense committed while Defendant was on pretrial release. Had Defendant been charged separately

28 with his October 2018 conduct, he would face two separate charges, each of which would carry ten-year

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 1 mandatory minimum sentences.

 2          Finally, in evaluating the nature and circumstances of the Defendant’s offense: the government

 3 asks the Court to consider the presence of three firearms (two loaded), and all of the ammunition and

 4 magazines found at Defendant’s home. As the application note to U.S.S.G. § 2D1.1(b)(1) states, a

 5 Guidelines enhancement is appropriate because of the “increased danger of violence when drug

 6 traffickers possess weapons.” Defendant possessed these firearms, and the drugs, in a home where his

 7 children lived. One was in a backpack in his bedroom, not hidden or locked away in a firearm safe.

 8 These firearms were there to protect his significant drug stash, and they support a Guidelines sentence of

 9 240 months in custody.
10          B.     The History and Characteristics of Defendant Show that This was a Crime of
                   Opportunity
11

12          Many who come before the Court seem turn to drug trafficking out of some form of desperation.

13 It is inexcusable, but understandable in some way that such individuals see drug trafficking as the only

14 way to earn enough money to make ends meet. Those Defendants prey off of customers in this District,

15 and they do so to support the ones that they love. But that is not Jesus Salazar. For him, this was a

16 crime of opportunity. Defendant is a U.S. Citizen; he had a comfortable childhood; he has a loving

17 wife; he was able to obtain gainful employment. While the government acknowledges that Defendant

18 states that his father was a drug trafficker in Mexico, Defendant moved to the United States. He did not

19 have to reengage with drug trafficking ties once here. That was his choice. The Defendant states that he

20 also abused drugs, but this is no excuse for the level of trafficking in which Defendant engaged.

21 Personal use of cocaine and methamphetamine do not lead a person to have ties to drug dealers in

22 foreign countries who then transport those drugs into the United States and into this District. Moreover,

23 Defendant made a calculated decision to continue to engage in drug dealing after his arrest and pretrial

24 release. These factors support a Guidelines sentence of 240 months in custody.

25 //

26 //

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            C.     A Significant Sentence Promotes Deterrence, Affords Just Punishment, and Gives
28                 the Public Relief from Defendant’s Relentless Criminal Conduct.

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 1          In the midst of a significant health crisis involving the very drugs that Defendant trafficked, the

 2 Court stands in a position to be able to give people in this community relief from those who peddle

 3 poison. The people in this District deserve to have a significant source of drug supply shut off and

 4 separated from the community for a long period of time. A significant sentence also would deter others

 5 who would engage in this form of conduct and who would try to do so while on pretrial release. A

 6 twenty-year sentence is significant, but it is what is appropriate given the seriousness of this offense.

 7 V.       CONCLUSION

 8          With full consideration of all the sentencing factors set forth in 18 U.S.C. § 3553(a), the

 9 government respectfully requests that the Court impose a sentence of 240 months in prison and five
10 years of supervised release.

11   Dated: September 19, 2019                             Respectfully submitted,

12                                                         DAVID L. ANDERSON
                                                           United States Attorney
13

14                                                         By: ______/s/__________________
                                                              SHEILA A.G. ARMBRUST
15                                                            Assistant United States Attorney

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